                                                                          Case 3:20-cv-09247-SI Document 489 Filed 02/13/23 Page 1 of 2




                                                                 1 SMILEY WANG-EKVALL, LLP
                                                                   Kyra E. Andrassy, State Bar No. 207959
                                                                 2 kandrassy@swelawfirm.com
                                                                   Michael L. Simon, State Bar No. 300822
                                                                 3 msimon@swelawfirm.com
                                                                   Timothy W. Evanston, State Bar No. 319342
                                                                 4 tevanston@swelawfirm.com
                                                                   3200 Park Center Drive, Suite 250
                                                                 5 Costa Mesa, California 92626
                                                                   Telephone: 714-445-1000
                                                                 6 Facsimile:   714-445-1002

                                                                 7 Counsel for David Stapleton, Receiver

                                                                 8                             UNITED STATES DISTRICT COURT

                                                                 9                           NORTHERN DISTRICT OF CALIFORNIA

                                                                10

                                                                11 SECURITIES AND EXCHANGE                         Case No. 3:20-cv-09247-SI
SMILEY WANG-EKVALL, LLP




                                                                   COMMISSION,
                          Tel 714 445-1000 • Fax 714 445-1002
                            3200 Park Center Drive, Suite 250




                                                                12                                                 [PROPOSED] ORDER GRANTING
                               Costa Mesa, California 92626




                                                                                         Plaintiff,                MOTION OF RECEIVER, DAVID
                                                                13                                                 STAPLETON, FOR ORDER POOLING
                                                                         v.                                        ASSETS AND LIABILITIES BECAUSE
                                                                14                                                 THE RECEIVERSHIP ENTITIES
                                                                   SILICONSAGE BUILDERS, LLC aka                   OPERATED AS A UNITARY
                                                                15 SILICON SAGE BUILDERS and                       ENTERPRISE
                                                                   SANJEEV ACHARYA,
                                                                16                                                 [Memorandum of Points and
                                                                                     Defendants.                   Authorities and Declarations of Quintin
                                                                17                                                 Brown and David Stapleton in Support
                                                                                                                   Thereof Filed Concurrently]
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                                                                22           The hearing on the Motion of Receiver, David Stapleton, for Order Pooling
                                                                23 Assets and Liabilities Because the Receivership Entities Operated as A Unitary

                                                                24 Enterprise was vacated and decided on papers submitted without oral argument. No

                                                                25 oppositions were filed. For the reasons set forth in the Motion and the declarations

                                                                26 submitted in support and as stated on the record,

                                                                27           IT IS ORDERED AS FOLLOWS:
                                                                28


                                                                     2930467.1                                                                            ORDER
                                                                          Case 3:20-cv-09247-SI Document 489 Filed 02/13/23 Page 2 of 2




                                                                1            (1)   The Motion is granted;

                                                                2            (2)   The assets and liabilities of the Receivership Entities shall be pooled,

                                                                3 except that this shall not affect valid liens that are secured by property of the

                                                                4 Receivership Estate; and

                                                                5            (3)   The pooling of liabilities is without prejudice to the ability of the Balbach

                                                                6 Investor Group to raise the issue of how the assets are distributed in connection with the

                                                                7 Receiver’s distribution plan.

                                                                8

                                                                9 Dated: February 13, 2023

                                                                10

                                                                11                                           SUSAN ILLSTON
SMILEY WANG-EKVALL, LLP




                                                                                                             United States District Judge
                          Tel 714 445-1000 • Fax 714 445-1002
                            3200 Park Center Drive, Suite 250




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                               Costa Mesa, California 92626




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                                                                     2930467.1                                                                                ORDER
